EXHIBIT A
       Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 1 of 55 PageID #:1




                          UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF ILLINOIS

                                 EASTERN DIVISION

OLEAN WHOLESALE GROCERY                        No.
COOPERATIVE, INC. and JOHN GROSS
AND COMPANY, INC.
                                               CLASS ACTION COMPLAINT
                                 Plaintiffs,

         v.

AGRI STATS, INC., BUTTERBALL LLC,
CARGILL, INC., CARGILL MEAT                    DEMAND FOR JURY TRIAL
SOLUTIONS CORPORATION, COOPER
FARMS, INC., FARBEST FOODS, INC.,
FOSTER FARMS, LLC, FOSTER POULTRY
FARMS, THE HILLSHIRE BRANDS
COMPANY, HORMEL FOODS
CORPORATION, HORMEL FOODS, LLC,
HOUSE OF RAEFORD FARMS, INC.,
KRAFT HEINZ FOODS COMPANY, KRAFT
FOODS GROUP BRANDS LLC, PERDUE
FARMS, INC., PERDUE FOODS LLC,
TYSON FOODS, INC., TYSON FRESH
MEATS, INC. AND TYSON PREPARED
FOODS, INC.,

                              Defendants.




010737-11/1219159 V2
       Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 2 of 55 PageID #:2




                                                  TABLE OF CONTENTS
                                                                                                                                          Page

I.       NATURE OF ACTION .......................................................................................................1

II.      JURISDICTION AND VENUE ........................................................................................13

III.     PARTIES ...........................................................................................................................14

         A.         Plaintiffs .................................................................................................................14

         B.         Defendants .............................................................................................................15

         C.         Co-Conspirators .....................................................................................................20

IV.      FACTUAL ALLEGATIONS ............................................................................................20

         A.         Agri Stats’ information exchange services began in the broiler
                    industry, where it has been used to facilitate widespread collusion. .....................21

         B.         Defendants entered into an agreement to exchange information
                    through Agri Stats regarding their production and sales of turkey. .......................23

         C.         Defendants possess market power in the market for turkey and
                    turkey is the type of product for which information exchange is
                    particularly likely to have anticompetitive effects. ................................................27

                    1.         Defendants have market power in the market for turkey. ..........................27
                    2.         There are high barriers to entry in the market for turkey for
                               meat consumption. .....................................................................................28
                    3.         The defendants have market power in the market for turkey
                               for meat consumption. ...............................................................................30
         D.         The market for turkey is the type of market where the information
                    exchanges orchestrated by Agri Stats are likely to harm competition. ..................30

                    1.         The turkey market features few sellers. .....................................................31
                    2.         Turkey is a fungible market. ......................................................................31
                    3.         The turkey market features price-based competition. ................................31
                    4.         Demand for turkey is relatively inelastic. ..................................................32
                    5.         The turkey market features a trend towards price uniformity....................32




                                                                     -i-
Class Action Complaint - Case No.:
010737-11/1219159 V2
        Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 3 of 55 PageID #:3




         E.        Industry-wide production cuts during the Conspiracy Period were
                   facilitated through the information exchange conducted through
                   Agri Stats. ..............................................................................................................32

         F.        Abnormal pricing during the Class Period demonstrates the
                   anticompetitive effects of the exchange of turkey information
                   conducted through the Agri Stats sales reports. .....................................................33

                   1.         The average turkey wholesale price experienced an
                              unprecedented increase beginning in 2009. ...............................................33
                   2.         Beginning in 2009, defendants’ revenues radically diverged
                              from their costs. .........................................................................................34
                   3.         During the conspiracy period, prices rose but production
                              failed to rise to match demand, indicating an anticompetitive
                              restraint on supply in the market for turkey facilitated by the
                              information exchange through Agri Stats. .................................................36
                   4.         During the conspiracy period, prices of turkey radically
                              diverged from the costs of underlying feed. ..............................................37
                   5.         A regression model demonstrates the anticompetitive effects
                              on the price of turkey caused by the information exchange
                              conducted through Agri Stats.....................................................................38
         G.        Defendants actively concealed the extent of their information
                   exchange and plaintiffs did not and could not have discovered
                   defendants’ anticompetitive conduct. ....................................................................39

         H.        Defendants had numerous opportunities to collude. ..............................................41

V.       CLASS ACTION ALLEGATIONS ..................................................................................42

VI.      ANTITRUST INJURY ......................................................................................................45

VII.     CAUSE OF ACTION ........................................................................................................46

         VIOLATION OF THE SHERMAN ACT .........................................................................46

         FIRST CLAIM FOR RELIEF VIOLATION OF SECTION 1 OF THE
         SHERMAN ACT FOR CONSPIRACY TO EXCHANGE COMPETITIVE
         INFORMATION 15 U.S.C. § 1 (ON BEHALF OF NATIONWIDE CLASS
         FOR INJUNCTIVE AND EQUITABLE RELIEF AND DAMAGES) ............................46

VIII.    REQUEST FOR RELIEF ..................................................................................................49

IX.      JURY TRIAL DEMANDED .............................................................................................50



                                                                   -ii-
Class Action Complaint - Case No.:
010737-11/1219159 V2
        Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 4 of 55 PageID #:4




         Plaintiffs bring this action on behalf of themselves individually and on behalf of a

plaintiff class consisting of all persons and entities who purchased turkey directly from a

defendant or co-conspirator in the United States beginning at least as early as January 1, 2010

through January 1, 2017 (Class Period).1 Plaintiffs bring this action for treble damages and

injunctive relief under Section 1 of the Sherman Act. Plaintiffs demand a trial by jury.

                                     I.    NATURE OF ACTION

         1.       The turkey integrator defendants are the leading suppliers of turkey in an industry

with approximately $5 billion in annual commerce. The turkey industry is highly concentrated,

with a small number of large producers in the United States controlling supply. Defendants and

their co-conspirators collectively control approximately 80 percent of the wholesale turkey

market in the United States. The turkey integrator defendants are Butterball LLC (Butterball);

Cargill Inc. and Cargill Meat Solutions Corporation, (together and separately, Cargill); Cooper

Farms, Inc. (Cooper Farms); Farbest Foods, Inc., (Farbest); Foster Farms LLC and Foster Poultry

Farms (together and separately, Foster Farms); Hormel Foods Corporation and Hormel Foods

LLC (together and separately, Hormel); House of Raeford Farms, Inc., (House of Raeford); Kraft

Heinz Foods Company and Kraft Foods Group Brands LLC (together and separately, Kraft

Foods), Perdue Farms, Inc. and Perdue Foods LLC (together and separately, Perdue); Tyson

Foods, Inc., The Hillshire Brands Company, Tyson Fresh Meats, Inc. and Tyson Prepared Foods,

Inc. (together and separately, Tyson).

         2.       Defendant Agri Stats is a company that provides secretive information exchange

services to companies in a variety of agricultural sectors, including pork, chicken, and turkey.



    1
     For purposes of this complaint, turkey includes turkey meat purchased fresh or frozen, and
either uncooked or cooked.

                                                  -1-
Class Action Complaint - Case No.:
010737-11/1219159 V2
        Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 5 of 55 PageID #:5




          3.      The turkey integrator defendants each entered into an agreement from at least

2010 to January 1, 2017, to exchange sensitive information through Agri Stats regarding their

production and sales of turkey.

          4.      Agri Stats reports are far different from lawful industry reports. Agri Stats gathers

detailed financial and production data from each of the turkey integrators, standardizes this

information, and produces customized reports and graphs for the co-conspirators. On a monthly

basis, Agri Stats provides the turkey integrators with current and forward-looking sensitive

information (such as profits, costs, prices and slaughter information).

          5.      The United States Supreme Court has long recognized that “exchanges of current

price information, of course, have the greatest potential for generating anticompetitive effects.”2

Agri Stats’ sales reports prove the truth of that maxim. Agri Stats prepared monthly reports for

defendants regarding their sales of turkey that identified, on a specific product by product level,

the prices and returns that each defendant was obtaining on their sales of turkey. These reports,

unavailable to anybody besides Agri Stats subscribers, allowed the integrator defendants to

easily identify potential opportunities where their prices for turkey products were significantly

lower than their competitors.

          6.      Turkey is the relevant product market and the geographic market is the

continental United States. Defendants collectively possess market power in the market for

turkey. Defendants and co-conspirators collectively possessed approximately 80 percent of the

overall market share for turkeys during the Class Period.

          7.      Blair Snyder, a senior executive at Agri Stats, publicly stated in 2009 that “about

95% of the turkey industry [is] participating” in Agri Stats, and that for “turkey participants,


    2
        United States v. U.S. Gypsum Co., 438 U.S. 422, 443 (1978).

                                                   -2-
Class Action Complaint - Case No.:
010737-11/1219159 V2
       Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 6 of 55 PageID #:6




pretty much it’s a list of who’s who in the turkey business.” This is a comparable portion to the

percentage of broiler chicken industry participating in Agri Stats reports, with Mr. Snyder stating

that “we’ve got high 90 percentage of both broilers and turkeys.”

         8.       Each one of the defendants and co-conspirators entered into an agreement to

exchange information through Agri Stats. Each defendant’s agreement to exchange information

regarding turkey production is shown in the below 2010 excerpt from an Agri Stats presentation

that lists the participants in Agri Stats’ turkey reports.




         9.       This 2010 presentation slide shows that each of the defendant integrator and Co-

Conspirator Integrators entered into an agreement to exchange information regarding their turkey

operations through Agri Stats during the conspiracy period. The document directly identifies

defendants Butterball, Cargill, Cooper’s, Farbest, Foster Farms, House of Raeford and Perdue

Farms, as participants in Agri Stats’s reports on turkey. The document directly identifies Co-

                                                   -3-
Class Action Complaint - Case No.:
010737-11/1219159 V2
        Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 7 of 55 PageID #:7




Conspirators Circle-S Ranch, Prestage Farms, and West Liberty Foods as participants in Agri

Stats’ reports on turkey. Jennie-O is the brand name for Hormel’s turkey operations and thus

Hormel participated in Agri Stats’ reports on turkey. The document also identifies Louis Rich, a

Kraft Foods brand that produces turkey, as receiving Agri Stats reports, and thus Kraft Foods

participated in Agri Stats’ reports on turkey. Sara Lee’s turkey operations, Hillshire Brands, was

subsequently acquired by Tyson in 2014 and thus Tyson participated in Agri Stats’ reports on

turkey.

          10.     The information exchange by the defendant integrators through Agri Stats is

exactly the type of information exchange that the Supreme Court has recognized is likely to have

anticompetitive effects under a rule of reason analysis. First, the data is current and forward-

looking – which courts consistently hold has “the greatest potential for generating

anticompetitive effects.”3 Second, information contained in Agri Stats reports is specific to the

turkey producers, including information on profits, prices, costs and production levels. Third,

none of the Agri Stats information was publicly available. Agri Stats is a subscription service,

which required the defendant integrators to pay hefty fees over the Class Period – far in excess of

any other pricing and production indices and to agree to volunteer their own data. “Public

dissemination is a primary way for data exchange to realize its pro-competitive potential.”4 Agri

Stats ensured that its detailed, sensitive business information was available only to the co-

conspirators and not to any buyers in the market. Thus, for example, buyers on the market could

not use Agri Stats data in Agri Stats sales reports to negotiate lower prices; instead, only

defendants could use it as a way to identify opportunities to raise their prices.


    3
     Todd v. Exxon Corp., 275 F.3d 191, 2011 (2d Cir. 2001) (Sotomayor, J.) (quoting United
States v. Gypsum Co., 438 U.S. 422, 441 n.16 (1978)).
    4
        Id. at 213.

                                                 -4-
Class Action Complaint - Case No.:
010737-11/1219159 V2
       Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 8 of 55 PageID #:8




         11.      Indeed, Agri Stats specifically marketed itself to potential participants as a way

that they could “improve profitability” rather than engage in competition through production

increases. Agri Stats was good to its word; its sales reports specifically identified opportunities

for defendants where defendants’ products were lower than that of the industry average and

where defendants could consequently raise prices to meet that of their competitors.

         12.      Industry participants relied on Agri Stats reports in their analysis of their business

operations. For example, Hormel, at its 2011 Investor Day, stated in its presentation that “when

you optimize the supply chain” you “improve your relative industry position (Agri Stats).”

Hormel also touted that “Jennie-O Turkey Store is consistently one of the top companies in

operating profits (Agri Stats).”

         13.      Confidential Witness 1 (CW1) is a former sales executive at Butterball involved

in the pricing of turkeys. CW1 was employed at Butterball during the entire Class Period. CW1

stated that Butterball relied on the monthly reports issued by Agri Stats: “The company used the

information to evaluate — by item, item group, price, distribution — where we stood against

other turkey companies.” CW1 stated that he and other sales personnel looked at Agri Stats data

to see how Butterball ranked against peers in the turkey industry. CW1 stated that he personally

looked at the Agri Stats data to assess costs and returns. CW1 stated that costs were an important

factor in determining how Butterball set its prices.

         14.      Confidential Witness 2 (CW2) is a former accountant at Cooper Farms. CW2

stated that Cooper Farms received monthly reports from Agri Stats. In addition, Agri Stats

representatives met with Cooper Farms executives every six months. CW2 stated that Cooper

Farms submitted cost information to Agri Stats every month. CW2 explained that Agri Stats

reports grouped data into various types of turkey products, including deli meat and smoked meat.



                                                   -5-
Class Action Complaint - Case No.:
010737-11/1219159 V2
        Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 9 of 55 PageID #:9




          15.     CW2 stated that Agri Stats representatives regularly met with the Cooper

Leadership Management Group, which included top management and executives from Cooper

Farms. CW2 stated that “the upper group received advice” from Agri Stats. CW2 stated that the

advice from Agri Stats helped Cooper Farms improve its returns per pound.

          16.     Agri Stats reports also contained detailed information on industry-wide supply

levels. For example, a job description of an Agri Stats employee stated that they analyzed Turkey

“breeder flock and hatchery data” as well as Turkey “growout flocks.”

          17.     Based on publicly available information filed in a February 7, 2018, complaint in

the Broiler Chicken Antitrust Litigation, 5 Agri Stats data on growout flocks contained

information such as the number of broilers placed, chick mortality by week and overall

percentage, chick cost, days between flocks provided to contract farmers (aka, “down time”),

feed conversion rate (pounds of feed per pound of broiler), and average daily weight. On

information and belief, the growout data that Agri Stats compiled for the turkey industry

contained similar levels of data. This type of data allowed defendants to monitor industry-wide

supply levels.

          18.     Although Agri Stats reports are nominally anonymous, defendant integrators were

often able to deanonymize the reports to identify the data of specific companies based on their

industry knowledge. CW2 stated that he could determine the identity of companies in Agri Stats

reports because “you could usually figure out who was who because they have a certain cooked

meat, or if they were browning and running it through an oven.” CW2 further stated that “we

could sit there and discuss it, because a lot of us knew what the other plants in the big areas, what



    5
        In re Broiler Chicken Antitrust Litigation, Case No. 1:16-cv-08637 (N.D. Ill.) (ECF No.
710)

                                                  -6-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 10 of 55 PageID #:10




they did.” For example, CW2 stated that one competitor company had five separate facilities

included in the Agri Stats reports, and that therefore, it was easy to determine the identity of that

company.

         19.      Confidential Witness 3 (CW3) is a former employee of Cargill during the

conspiracy period. CW3 stated that Cargill received monthly reports from Agri Stats on turkey.

CW3 stated that the monthly Agri Stats turkey reports went directly to Cargill finance

executives.

         20.      Throughout the conspiracy period, defendant integrators were able to exercise a

remarkable level of industry-wide restraint in keeping the growth of turkey supply in check,

causing turkey prices to rise. Thus, Agri Stats had the anticompetitive effect of allowing

defendants to engage in collusion to restrain the supply of turkey by facilitating information

exchange about supply levels throughout the industry. The industry-wide cuts in turkey

production during the conspiracy period are shown in the following chart:




                                                 -7-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 11 of 55 PageID #:11




         21.      In a competitive market, production generally matches demand. More demand

will lead to more supply. Conversely, a drop in production caused by falling demand should

correspond to falling prices. However, in the turkey market during the conspiracy period,

production, measured through USDA data, remained artificially restrained even as demand,

captured by higher per capita expenditures on turkey, rose significantly. These observed price

and output dynamics, shown in the below analysis performed by plaintiffs’ experts, indicate that

it was not falling demand that caused a decline in supply during the conspiracy period.




         22.      In addition to their participation in Agri Stats, defendant integrators had frequent

opportunities to communicate, in conjunction with formal meetings of various trade associations.

In particular, the National Turkey Federation each year held regular meetings, including the NTF

Annual Convention and the NTF Leadership conference, which were widely attended by the

defendant integrators. CW3 stated that senior Cargill executives, including Cargill’s CEO and

CFO, attended National Turkey Federation meetings. For example, CW2 stated that Cooper



                                                   -8-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 12 of 55 PageID #:12




Farms leadership were involved in the National Turkey Federation, for example Cooper Farms

COO Gary Cooper served as immediate past chairman of the NTF board in 2014.

          23.     Collectively, Hormel, Cargill, and Butterball control approximately 50 percent of

the turkey market. Hormel is the only publicly traded company among these three. In its earnings

calls during the conspiracy period, Hormel repeatedly discussed the industry-wide success in

executing production cuts and maintaining industry-wide production discipline during the Class

Period.

          24.     On June 2, 2009, Hormel emphasized that it was making production cuts in

response to an alleged oversupply in the market and closely monitoring the overall level of

production in the market, showing the importance of the kind of information exchanged through

Agri Stats:

                  There is an oversupply of turkey. There continues to be perhaps more
                  production as well as cold storage stocks than the demand would
                  warrant. We have been very deliberate about making the appropriate
                  production cuts. We announced them over a year ago. And we have
                  even exceeded the amount we expected to reduce. We have seen the
                  placements and indicators of forward looking supply come down, so
                  that was as expected, and we expected the second half of 2009 to be a
                  little kinder in the turkey side of the business, but there is still a lot of
                  storage, cold storage stocks to go through, we feel comfortable that
                  we’ve cleaned up our inventories that we had on hand. Our production
                  cuts were more than the decrease in our sales because we did work off
                  inventories. I had a feeling the industry will rebound. It's going to take
                  a work through of the excess inventories as well as those production
                  cuts hitting the marketplace.

          25.     On August 20, 2010, Hormel stated, “We think the turkey business has reached a

good equilibrium, and we don’t have any major expansion plans and have not heard others in

that mode, so I think those conditions should remain favorable into next year.”

          26.     On May 25, 2011, Hormel stated that the turkey industry was maintaining solid

pricing based on the information that Hormel was receiving about industry-wide turkey


                                                     -9-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 13 of 55 PageID #:13




production levels: “We certainly see egg set and poultry placement numbers that take us through

the end of this year and a little bit into next fiscal year. But right now, on the basis of those

numbers, on the basis of what we see in terms of production in the industry and on the basis of

cold storage numbers, coupled with still strong demand on the export side, we feel that the

amount of product going to market will support solid pricing on a commodity basis.”

         27.      On August 25, 2011, Hormel stated that the turkey industry was maintaining

better discipline than the poultry industry: “The industry as a whole has shown a little better

discipline, perhaps, than the other poultry side of the ledger.” This statement is notable because

the chicken industry is currently the subject of multiple civil lawsuits as well as a DOJ

investigation of potential antitrust violations during this period of time.

         28.      Furthermore, the turkey market has all of the characteristics of a market where

information exchange is likely to have anticompetitive effects. Turkey is a fungible product, the

market for turkey has price-based competition, the demand for turkey is relatively inelastic, and

the turkey market features a trend towards price uniformity.

         29.      The information exchange through Agri Stats did not have the kind of

characteristics that would produce procompetitive effects sufficient to outweigh the

anticompetitive harms. The information exchange involved current and forward-looking data.

Agri Stats regularly prepared monthly reports that contained data that was less than six weeks

old. Agri Stats also only allowed companies to access the data if they themselves shared the data,

thus ensuring that only defendants and other similarly situated turkey integrators who received

the Agri Stats reports were able to use the data.




                                                 -10-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 14 of 55 PageID #:14




         30.      During the conspiracy period, the price of turkey spiked dramatically, driven by

the anticompetitive effects of the information exchange through Agri Stats regarding turkey

production that helped facilitate defendants restraint over the growth in the supply of turkey.


         31.      The information exchange through Agri Stats in fact had anticompetitive effects

on the market. Prior to the conspiracy, turkey prices closely tracked the underlying cost of feed,

which is the primary input cost in the production of turkey. Beginning in 2009-2010, prices of

turkey spiked to an unprecedented level, showing the anticompetitive effects of defendants’

information exchange through Agri Stats. Remarkably, as demonstrated in the analysis

performed by plaintiffs’ experts, shown in the below chart, prices of turkey quickly returned to

match underlying feed costs after litigation was filed in late 2016 in the broiler industry that

centered on the anticompetitive use of Agri Stats. Defendants clearly changed their behavior

after the commencement of the Broilers litigation, as Tyson dismissed their CEO, Donnie Smith,

in late 2016, shortly after the first civil lawsuits were filed.




                                                  -11-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 15 of 55 PageID #:15




         32.      Feed accounts for approximately 60-70% of the cost of raising a turkey.

Plaintiffs’ experts constructed a regression model based on the underlying feed cost that models

what the “but for” price of turkey would have been if the historical relationship between feed and

turkey costs had continued during the conspiracy period. The model demonstrates that the

anticompetitive information exchange of data regarding turkey production through Agri Stats

caused anticompetitive effects in the market for turkey.




                                                 -12-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 16 of 55 PageID #:16




         33.      As a result of defendants’ unlawful conduct, plaintiffs and the Class paid

artificially inflated prices for turkey during the Class Period. Such prices exceeded the amount

they would have paid if the price for turkey had been determined by a competitive market. Thus,

plaintiffs and class members were injured by defendants’ agreement to exchange information

through Agri Stats regarding the turkey market.

                               II.     JURISDICTION AND VENUE

         34.      Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

secure compensatory damages and injunctive relief against defendants for violating Section 1 of

the Sherman Act (15 U.S.C. § 1). Plaintiffs seek to recover actual and/or compensatory damages,

double and treble damages as permitted, pre- and post-judgment interest, costs, and attorneys’

fees for the injury caused by defendants’ conduct in restricting the supply of turkey and

increasing the price of turkey. Plaintiffs seek damages in excess of $5,000,000. This Court has

subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16 of the Clayton

Act, 15 U.S.C. §§ 15(a) and 26.

                                                  -13-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 17 of 55 PageID #:17




         35.      Venue is appropriate in this District under 28 U.S.C. § 1391(b), (c) and (d)

because both Kraft Foods and Hillshire Brands are headquartered in the District, and one or more

defendants transacted business in this District, is licensed to do business or is doing business in

this District, and because a substantial portion of the affected interstate commerce described

herein was carried out in this District.

         36.      This Court has personal jurisdiction over each defendant because, inter alia, each

defendant: (a) transacted business throughout the United States, including in this District;

(b) manufactured, sold, shipped, and/or delivered substantial quantities of turkey throughout the

United States, including in this District; (c) had substantial contacts with the United States,

including in this District; and/or (d) engaged in an antitrust conspiracy that was directed at and

had a direct, foreseeable, and intended effect of causing injury to the business or property of

persons residing in, located in, or doing business throughout the United States, including in this

District.

         37.      The activities of the defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial, and reasonably foreseeable

effects on, the foreign and interstate commerce of the United States.

                                           III.   PARTIES

A.       Plaintiffs

         38.      Plaintiff Olean Wholesale Grocery Cooperative, Inc. (Olean Wholesale) is a

retailers’ cooperative located in Olean, New York. Its members are independent, family-owned

supermarkets. Olean has served supermarkets in Western and Central New York, Western

Pennsylvania, and Northeastern Ohio since 1922. Olean Wholesale is a New York corporation

with its principal place of business in Olean, New York, and purchased turkey directly from one



                                                  -14-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 18 of 55 PageID #:18




or more defendants during the Class Period and suffered antitrust injury as a result of the

violations alleged in this Complaint.

         39.      John Gross and Company, Inc. (John Gross) is a full line food distributor located

in Mechanicsburg, Pennsylvania. Founded in 1950, the company has been owned and operated

by the Gross family for four generations. John Gross is a Pennsylvania corporation with its

principal place of business in Mechanicsburg, Pennsylvania, and purchased turkey directly from

one or more defendants during the Class Period and suffered antitrust injury as a result of the

violations alleged in this Complaint.

B.       Defendants

         40.      Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana.

Throughout the Class Period, Agri Stats acted as a co-conspirator of the turkey integrator

defendants by facilitating the exchange of confidential, proprietary, and competitively sensitive

data among defendants and their co-conspirators.

         41.      Butterball, LLC is a privately held North Carolina corporation engaged in the

production of meat and food products, and the marketing of these products. During the Class

Period, Butterball and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates

sold turkey in interstate commerce, directly or through its wholly owned or controlled affiliates,

to purchasers in the United States.

         42.      Cargill, Inc. is a privately held Delaware corporation headquartered in

Minnetonka, Minnesota. During the Class Period, Cargill and/or its predecessors, wholly owned

or controlled subsidiaries, or affiliates sold turkey in interstate commerce, directly or through its

wholly owned or controlled affiliates, to purchasers in the United States.

         43.      Cargill Meat Solutions Corporation is a Delaware corporation that operates as a

subsidiary of Cargill, Incorporated. During the Class Period, Cargill Meat Solutions and/or its

                                                  -15-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 19 of 55 PageID #:19




predecessors, wholly owned or controlled subsidiaries, or affiliates sold turkey in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the

United States.

         44.      Defendants Cargill, Inc. and Cargill Meat Solutions are collectively referred to as

“Cargill.”

         45.      Cooper Farms, Inc. is a privately held Ohio corporation engaged in the production

of meat and food products, and the marketing of these products. During the Class Period, Cooper

Farms and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold turkey

in interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

         46.      Farbest Foods, Inc. is a privately held Indiana corporation engaged in the

production of meat and food products, and the marketing of these products. During the Class

Period, Farbest and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold

turkey in interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

         47.      Foster Farms LLC is a privately held California corporation headquartered in

Modesto, California. During the Class Period, Foster Farms LLC and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold turkey in interstate commerce, directly or

through its wholly owned or controlled affiliates, to purchasers in the United States.

         48.      Foster Poultry Farms is a privately held California corporation headquartered in

Livingston, California. Foster Poultry Farms is a related entity of Foster Farms LLC. During the

Class Period, Foster Poultry Farms and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates was engaged in the processing, distribution, sale, pricing, and/or



                                                  -16-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 20 of 55 PageID #:20




marketing of turkey, directly or through its wholly owned or controlled affiliates, to purchasers

in the United States.

         49.      Defendants Foster Farms LLC and Foster Poultry Farms are collectively referred

to as “Foster Farms.”

         50.      Kraft Heinz Foods Company (Kraft Heinz), an Illinois corporation with

headquarters in Pittsburgh, Pennsylvania, and Chicago, Illinois, is engaged in the production of

meat and food products, and the marketing of these products. During the Class Period, Kraft

Heinz and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold turkey

in interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

         51.      Kraft Foods Group Brands LLC is an Illinois corporation engaged in the

production of meat and food products, and the marketing of these products. During the Class

Period, Kraft Heinz and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates

sold turkey in interstate commerce, directly or through its wholly owned or controlled affiliates,

to purchasers in the United States.

         52.      Defendants Kraft Heinz Foods Company and Kraft Foods Brands LLC are

collectively referred to as “Kraft Foods.”

         53.      Hormel Foods Corporation is a Delaware corporation engaged in the production

of meat and food products, and the marketing of these products. During the Class Period, Hormel

Foods Corporation and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates

sold turkey in interstate commerce, directly or through its wholly owned or controlled affiliates,

to purchasers in the United States.




                                                -17-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 21 of 55 PageID #:21




         54.      Hormel Foods LLC is a limited liability corporation headquartered in Austin,

Minnesota. It is a wholly owned subsidiary of Hormel Foods Corporation. Hormel is engaged in

the production of meat and food products, and the marketing of these products. During the Class

Period, Hormel Foods LLC and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold turkey in interstate commerce, directly or through its wholly owned or controlled

affiliates, to purchasers in the United States.

         55.      House of Raeford Farms, Inc. is a privately held North Carolina corporation

headquartered in Rose Hill, North Carolina. During the Class Period, House of Raeford operated

in part through a division referred to as “Columbia Farms,” which is a group of broiler facilities

and operations originally named Columbia Farms, Inc. and Columbia Farms of Georgia, Inc.

when purchased by House of Raeford in 1998. During the Class Period, House of Raeford

Farms, Inc. and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold

turkey in interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

         56.      Perdue Farms, Inc. is a privately held Maryland corporation headquartered in

Salisbury, Maryland. During the Class Period, Perdue Farms, Inc. and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold turkey in interstate commerce, directly or

through its wholly owned or controlled affiliates, to purchasers in the United States.

         57.      Perdue Foods LLC is a privately held Maryland limited liability company

headquartered in Salisbury, Maryland. Perdue Foods LLC is a subsidiary of Perdue Farms, Inc.

During the Class Period, Perdue Foods LLC and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates sold turkey in interstate commerce, directly or through its wholly

owned or controlled affiliates, to purchasers in the United States.



                                                  -18-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 22 of 55 PageID #:22




         58.      Defendants Perdue Farms, Inc. and Perdue Foods LLC are collectively referred to

as “Perdue.”

         59.      Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered in

Springdale, Arkansas. It wholly owns and controls two subsidiaries, Tyson Prepared Foods, Inc.

and Tyson Fresh Meats Inc. that slaughter and sell turkey products. During the Class Period,

Tyson Foods, Inc. and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates

sold turkey in interstate commerce, directly or through its wholly owned or controlled affiliates,

to purchasers in the United States.

         60.      Tyson Fresh Meats Inc. is a Delaware corporation that operates as a subsidiary of

Tyson Foods, Inc. During the Class Period, Tyson Fresh Meats and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold turkey in interstate commerce, directly or

through its wholly owned or controlled affiliates, to purchasers in the United States.

         61.      Tyson Prepared Foods, Inc. is a Delaware corporation that operates as a

subsidiary of Tyson Foods, Inc. During the Class Period, Tyson Prepared Foods, Inc. and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold turkey in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the

United States.

         62.      The Hillshire Brands Company (Hillshire Brands) is a Maryland corporation

headquartered in Chicago, Illinois. Hillshire Brands operates as a subsidiary of Tyson Foods that

sells turkey products. During the Class Period, Hillshire Brands and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold turkey in interstate commerce, directly or

through its wholly owned or controlled affiliates, to purchasers in the United States.




                                                 -19-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 23 of 55 PageID #:23




         63.      Defendants Tyson Foods, Inc., Tyson Fresh Meats, Inc., Tyson Prepared Foods,

Inc., and Hillshire Brands are collectively referred to as “Tyson.”

C.       Co-Conspirators

         64.      Co-Conspirator Circle S-Ranch, Inc. is a North Carolina corporation engaged in

the production of meat and food products, and the marketing of these products. During the Class

Period, Circle S-Ranch and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold turkey in interstate commerce, directly or through its wholly owned or controlled

affiliates, to purchasers in the United States.

         65.      Co-Conspirator Prestage Farms is a North Carolina corporation engaged in the

production of meat and food products, and the marketing of these products. During the Class

Period, Prestage Farms and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold turkey in interstate commerce, directly or through its wholly owned or controlled

affiliates, to purchasers in the United States.

         66.      Co-Conspirator West Liberty Foods LLC (West Liberty) is an Iowa corporation

engaged in the production of meat and food products, and the marketing of these products.

During the Class Period, West Liberty and/or its predecessors, wholly owned or controlled

subsidiaries, or affiliates sold turkey in interstate commerce, directly or through its wholly

owned or controlled affiliates, to purchasers in the United States.

                                 IV.    FACTUAL ALLEGATIONS

         67.      Starting no later than January 1, 2010, and continuing at least until January 1,

2017, defendants entered into an agreement to exchange information regarding their production

and sale of turkey through Agri Stats. The information exchange through Agri Stats provided

defendants an opportunity to obtain and monitor critical and competitively sensitive business

information regarding each other’s production and sales. The information exchange through Agri

                                                  -20-
Class Action Complaint - Case No.:
010737-11/1219159 V2
         Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 24 of 55 PageID #:24




Stats had anticompetitive effects, as prices for turkey soared and defendants engaged in an

industry-wide series of production cuts during the period. Notably, the information exchanged

through Agri Stats was not available to purchasers of turkey, ensuring that the information

exchange would not have procompetitive effects.

A.         Agri Stats’ information exchange services began in the broiler industry, where it has
           been used to facilitate widespread collusion.

           68.    Agri Stats has played a central role in other industries, including collusion in the

broiler industry.6 As alleged in the In re Broiler Chicken Antitrust Litigation, No. 16-cv-08637

(N.D. Ill.) litigation, the broiler producers used Agri Stats as a part of their conspiracy to restrain

production and inflate prices.

           69.    In the broiler industry, Agri Stats collected and disseminated to the other

members of the conspiracy disaggregated financial information (such as monthly operating

profit, sales and cost per live pound), production volumes, capacity, slaughter information,

inventory levels, sales data for finished product form and type, amongst other pieces of

competitively sensitive business information. The Agri Stats reports contain line-by-line entries

for plants, lines, and yields of various broiler facilities. Agri Stats relied upon (and the co-

conspirators agreed to) a detailed audit process to verify the accuracy of data from each broiler

producer’s complex, sometimes directly contacting the broiler defendants to verify the data. Agri

Stats also provided detailed price reports to the broiler industry through its subsidiary, Express

Markets, Inc. or EMI. Agri Stats collected data from the broiler producers on a weekly basis and

provided its reports to broiler producers on a weekly and monthly basis.




     6
         Broilers are chickens raised to be slaughtered before the age of 13 weeks.

                                                   -21-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 25 of 55 PageID #:25




         70.      The detail of these reports ensured that competitors could quickly decode the

information of their purported competitors. The Broiler complaints allege it was common

knowledge among producers that the detail of the Agri Stats reports allowed any reasonably

informed producer to discern the identity of the competitors’ individual broiler complexes. The

broiler reports, in part, contained so few producers participating that the identities were obvious.

Other reports contained such detailed data that it could be matched with the publicly stated

aggregate data for larger broiler defendants such as Tyson. The complaints allege that Agri Stats

purposefully circulated this information to top executives to facilitate agreement on supply,

constraints, and price.

         71.      In the broiler industry, it is also alleged that Agri Stats – known to its co-

conspirators to be a willing and informed conduit for illicit information exchanges – used public

and semi-public forums to convey messages to industry participants that furthered the purposes

of the conspiracy by reassuring conspirators that production cuts would continue, and by

inducing them to continue to act in concert to ensure they did. Agri Stats’ own statements in the

broiler industry facilitated the implementation of the agreement to restrict supply – where Agri

Stats would transmit the intentions of the broiler producers to restrict supply.

         72.      In a February 15, 2017 Bloomberg article relating to Agri Stats’ roles in the

broiler industry, it was reported:

                  “Peter Carstensen, a law professor at the University of Wisconsin and
                  former Justice Department antitrust lawyer who has studied Agri Stats
                  while researching the modern poultry industry, casts the level of plant-
                  by-plant detail in the company’s reports as “unusual.” He explains that
                  information-sharing services in other industries tend to deal in
                  averaged-out aggregated data—for example, insurance rates in a given
                  state. Such services run afoul of antitrust law, he says, when they offer
                  projections or provide data so detailed that no competitor would
                  reasonably share it with another. Getting detailed information is a
                  particularly useful form of collusion, Carstensen says, because it


                                                   -22-
Class Action Complaint - Case No.:
010737-11/1219159 V2
         Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 26 of 55 PageID #:26




                  allows co-conspirators to make sure they’re all following through on
                  the agreement. “This is one of the ways you do it. You make sure that
                  your co-conspirators have the kind of information that gives them
                  confidence—so they can trust you, that you’re not cheating on them,”
                  he says. “That is what creates stability for a cartel.”

           73.    The district court noted, in denying the motions to dismiss in the In re Broiler

Chicken Antitrust Litigation that given the nature of the Agri Stats reports, the defendants are in

fact sharing future anticipated production information with one another, which suggests high

antitrust concerns.7

B.         Defendants entered into an agreement to exchange information through Agri Stats
           regarding their production and sales of turkey.

           74.    Each member of the conspiracy, including the integrator defendants and co-

conspirators, were all Agri Stats subscribers. Agri Stats publicly stated that 95% of the turkey

market used Agri Stats reports.

           75.    Agri Stats collects participant financial and production data electronically each

month. Internal auditors convert the data, prepare it for comparison and perform the monthly

audits. Each company’s financial data is reconciled to its general ledger to help ensure actual

costs are reported. Raw numbers are used in Agri Stats’ standardized calculations, so all

company numbers are calculated the same way. CW2 stated that he was involved during the

conspiracy period in the monthly transmission of cost data from Cooper Farms to Agri Stats.

           76.    Participants in the scheme received monthly detailed reports and graphs that allow

them to compare their performance, sales prices, and costs to other participants. Agri Stats issues

separate reports in the turkey industry to the integrator defendants regarding live operations,

processing, further reprocessing, feed costs, and sales.


     7
     Memorandum Opinion and Order at 11, In re Broiler Chicken Antitrust Litigation, No. 16-
cv-08637 (N.D. Ill. Nov. 20, 2017), ECF No. 541.

                                                  -23-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 27 of 55 PageID #:27




         77.      Agri Stats provided the integrator defendants with an unparalleled ability to share

critical and proprietary information concerning key business metrics, such as sales, production

levels and short and long-term production capacity.

         78.      Perhaps most egregiously, Agri Stats provided monthly sales reports to

defendants. One of Agri Stats’ subsidiaries is Express Markets, Inc. (aka, “EMI”). On EMI’s

publicly available webpage Amanda Martin, an Express Markets economist states that Agri Stats

“audited turkey and broiler sales and product mix data, and worked with processing and further

reprocessing reports.’” On information and belief, the Agri Stats turkey sales reports contained

sales data that was less than six weeks old.

         79.      As detailed in the recently filed amended complaint in the Pork Antitrust

Litigation, No. 18-cv-1776 (JRT/HB) (D. Minn. Nov. 06, 2019), ECF No. 392, Agri Stats

allowed subscribers to its pork sales reports to compare their prices for individual products

against the national average net price, and against the national top 25 percent average price.

Notably, Agri Stats identified opportunities for the Pork Integrators to raise prices. For instance,

for each product, Agri Stats specifically broke out the variance between the company’s price and

the national average price, as well as the economic impact of the variance. This allowed co-

conspirators to see how much more they could charge if they charged either the national average

price or the average of the top 25% national average price.

         80.      Agri Stats provided similar services to the integrator defendants regarding their

production and sale of turkey. According to CW1, Agri Stats ranked the integrator defendants in

their reports based on the returns (i.e. prices) that the integrator defendants received.

         81.      As detailed in the Pork and Broilers complaints, for each of its reports, Agri Stats

identified the list of participants who were contributing data or information to the reports. CW1



                                                  -24-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 28 of 55 PageID #:28




confirmed that the reports Agri Stats prepared for the integrator defendants identified the

participants that provided data for each report, which allowed defendants to understand which of

their competitors were participating for each report. CW2 confirmed that the Agri Stats reports

identified each of the turkey production facilities that were participating in the reports.

         82.      One presentation from Agri Stats shows the level of detail provided to

competitors regarding profits in the swine market. On information and belief, similar levels of

detail were provided to defendants who received Agri Stats reports in the turkey market.




         83.      The purpose of these reports was not to provide better prices to consumers or to

lower the costs of production. Instead, the clear purpose was to improve the profitability of the

co-conspirators. The particular Agri Stats report referenced above shows the ranking of each

company in profitability and compares the company to its competitors by providing the variance

from the average. The Agri Stats report actually circulated to competitors contained even further

detail. This underlines that the purpose of these reports was not to allow consumers to save more


                                                 -25-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 29 of 55 PageID #:29




money through lower prices and more efficient production – in fact, the opposite was true, the

purpose was the profitability of the defendant companies and the impact was higher sales prices

for consumers.

         84.      Much of the information shared by Agri Stats and the co-conspirators was

unnecessary to achieve any benefits for consumers. Exchanging individual company data

(particularly current data on prices and costs) is not required to achieve major efficiencies.

         85.      Agri Stats knew that it played a central role in facilitating this anticompetitive

information exchange. One presentation from Agri Stats regarding the swine industry spoke

directly on this point, pointing out to industry participants that they could not undertake such a

detailed cost analysis between competitors without Agri Stats auditing and standardizing the

data:




                                                   -26-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 30 of 55 PageID #:30




         86.      Agri Stats stated that to ensure data contained in the reports was accurate, the

participants had to “agree on calculation and data collection procedures,” they must “[d]etermine

tolerance and outlier status and enforce,” they must “[h]ave an administrator to compile the

data and enforce procedures,” and most importantly, “[e]ach participant has to commit.”

         87.      According to CW1, Agri Stats gave live presentations to defendant integrators to

explain to them how to use the reports that Agri Stats prepared on the turkey industry and how to

compare themselves against their competitors: during the presentations, Agri Stats said, “if you

are number one priced out of 13, that meant the return was so much versus the other companies.”

         88.      It is the standard policy of Agri Stats that it will only grant access to Agri Stats

reports to similarly situated companies that themselves share data with Agri Stats. This ensures

that data from Agri Stats is only available to one side of the market – the integrator defendants.

The other side of the market, purchasers of turkey, is not allowed to access the Agri Stats data,

and thus cannot use Agri Stats data to negotiate lower prices. Thus, Agri Stats reports function as

a one-way ratchet that can be used for anticompetitive purposes by defendants but not for

procompetitive purposes by purchasers.

C.       Defendants possess market power in the market for turkey and turkey is the type of
         product for which information exchange is particularly likely to have
         anticompetitive effects.

         1.       Defendants have market power in the market for turkey.

         89.      One tool that courts use to assess the competitive effects of concerted action is

defining a relevant market – the zone of competition among the agreeing rivals in which the

agreement may affect competition. A relevant market contains both a product dimension (the

“product market”) and a geographic dimension (the “geographic market”). The case concerns the

sale of turkey for meat consumption in the United States.



                                                   -27-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 31 of 55 PageID #:31




         90.      There is a single market for turkey for meat consumption. Prices for turkey sold in

the United States are quoted generally in disassembled parts, with adjustments for transportation,

product form (i.e., degree of processing or added value), and packaging at the time of sale.

         91.      The relevant geographic market is the United States.

         2.       There are high barriers to entry in the market for turkey for meat
                  consumption.

         92.      The existence of high barriers to entry is one factor which makes markets

susceptible to collusion. A collusive arrangement that raises product prices above competitive

levels would, under basic economic principles, attract new entrants seeking to benefit from the

supracompetitive pricing. Where, however, there are significant barriers to entry, new entrants

are less likely. Thus, barriers to entry help facilitate the formation and maintenance of a cartel.

High barriers to entry in the turkey processing market exist, precluding other entrants or would-

be competitors from entering the market for turkeys raised for consumption.

         93.      During the Class Period and continuing today, substantial barriers impede entry

into the turkey market. A new entrant into the market would face costly and lengthy start-up

costs, including multi-million dollar costs associated with research and development, equipment,

energy, transportation. Distribution, infrastructure (aka “rolling stock”), skilled labor,

experienced management, a skilled contract-farmer base in a specific geographic area, long-

standing customer relationships, safety and quality assurance, and regulatory approvals relating

to environmental, worker safety, and food safety issues.




                                                 -28-
Class Action Complaint - Case No.:
010737-11/1219159 V2
        Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 32 of 55 PageID #:32




          94.     The price of construction of a new integrated turkey processing complex is

relatively high. For example, the cost for a current market participant, Virginia Poultry Growers

Cooperative, to construct a new turkey processing in 2015 was $62 million.8

          95.     The turkey market has been subject to steadily increasing consolidation over the

last several decades. In the 1970s, the turkey market was defined by competition among dozens

of companies that worked with independent farmers.9 But now, just four corporations ‒ Cargill,

Hormel, Butterball, and Farbest ‒ produce more than half of the turkey in the United States.

          96.     The turkey market also has high levels of vertical integration that constitute a

barrier to entry. The National Turkey Federation states that “turkey companies are vertically

integrated, meaning they control or contract for all phases of production.”10

          97.     For example, Butterball has over 175 farms that they own, as well as contracts

with numerous independent farmers. Jennie-O owns over 100 commercial growing farms.

Cargill owns around 700 farms. Farbest has more than 200 contract growers.




    8
     Virginia Poultry Growers Cooperative Plans Turkey Processing Facility in Hinton,
Virginia, Area Development (July 22, 2015), available at
https://www.areadevelopment.com/newsItems/7-22-2015/virginia-poultry-growers-cooperative-
processing-facility-hinton-virginia565489.shtml.
    9
      Christopher Leonard, That Turkey on Your Plate Could Use Some More Industry
Competition, The Washington Post (Nov. 22, 2013), available at
https://www.washingtonpost.com/opinions/that-turkey-on-your-plate-could-use-some-more-
industry-competition/2013/11/22/045fc470-5177-11e3-a7f0-b790929232e1_story.html.
    10
      Industry Structure, National Turkey Federation, https://www.eatturkey.org/industry-
structure/ (last visited Dec. 16, 2019).

                                                  -29-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 33 of 55 PageID #:33




         3.       The defendants have market power in the market for turkey for meat
                  consumption.

         98.      The integrator defendants possess market power in the market for turkey for

consumption. Defendants and their co-conspirators controlled an average of 77% of the market

from 2010-2018.




D.       The market for turkey is the type of market where the information exchanges
         orchestrated by Agri Stats are likely to harm competition.

         99.      Competition is likely to be harmed when competitors with market power in

concentrated markets, such as the market at issue, directly exchange strategic information about

current and forward-looking plans for prices and supply. The strategic information exchanged

between the defendants was competitively sensitive and a material factor in negotiations. Price,

capacity, supply and costs are crucial aspects of competition. When defendants that are

                                                 -30-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 34 of 55 PageID #:34




competing for the same customers exchange their strategic plans, comfort replaces uncertainty

and reduces incentives to lower price or compete on other aspects of sales of turkey.

         100.     The information exchange took place in private settings and involved the

exchange of confidential, non-public information.

         101.     The market for turkey is characterized by numerous attributes that mean the type

of information exchange facilitated by Agri Stats are particularly likely to have anticompetitive

effects. In particular, the market for turkey features relatively few sellers, a fungible product,

price-based competition, inelastic demand, and a trend toward price uniformity.

         1.       The turkey market features few sellers.

         102.     The turkey market is concentrated, with relatively few sellers. The defendants and

co-conspirators control approximately 80 percent of turkey production and processing. The

presence of few companies supports the inference that a conspiracy to exchange information had

the intended effect of restraining competition.

         2.       Turkey is a fungible market.

         103.     One of the distinct characteristics of the turkey industry is its fungibility, also

known as the ability to be freely exchangeable or replaceable in whole or in part. Common sense

indicates at Thanksgiving that a consumer can substitute a whole turkey produced by Butterball

with a whole turkey produced by Cargill.

         104.     Indeed, the Agri Stats reports themselves show that turkey is fungible because

they aggregate data across defendants for particular types of turkey products and allow

defendants to compare detailed information on prices for the same fungible product. CW1

confirmed that the Agri Stats reports were organized by specific item of turkey product.

         3.       The turkey market features price-based competition.

         105.     Turkey is a commodity market that faces price-based competition.

                                                   -31-
Class Action Complaint - Case No.:
010737-11/1219159 V2
      Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 35 of 55 PageID #:35




          4.      Demand for turkey is relatively inelastic.

          106.    Price elasticity of demand (PED) is a measure used to quantify the degree to

which quantity demand for a good or service changes with respect to price.11 A PED value

between 0 and -1 indicates there is inelastic demand for the good or service ‒ i.e., a 1 percent

increase in price induces a less than 1 percent decrease in quantity demanded. The USDA has

estimated that the average PED estimate for the turkey market is -0.58 – meaning the demand for

turkey is inelastic. Indeed, most American consumers eat turkey at Thanksgiving, not pork or

chicken, illustrating that there is no substitute for one of the key demand drivers of turkey.

          5.      The turkey market features a trend towards price uniformity.

          107.    Collusion becomes easier for manufacturers of a homogenous product when

prices are the only way in which products can be differentiated from one another. For example,

whole turkey products are produced on a commercial scale and sold in supermarkets. Whole

turkeys are virtually indistinguishable, with similar nutritional values, branding and packaging.

E.        Industry-wide production cuts during the Conspiracy Period were facilitated
          through the information exchange conducted through Agri Stats.

          108.    As demonstrated in the following chart, the turkey integrators acted in a concerted

way to decrease turkey supply in 2009, 2013, 2014, and 2015. Overall, industry supply decreased

significantly from 2009 to 2015, before rebounding in 2016. The information exchange through

Agri Stats facilitated the ability of defendants to monitor total industry levels of supply.




     11
       See, e.g., Jeffrey M. Perloff, Microeconomics with Calculus, 28-31 (2d Ed.); Patrick L.
Anderson, et al., Price Elasticity of Demand (Nov. 13, 1997),
https://scholar.harvard.edu/files/alada/files/price_elasticity_of_demand_handout.pdf; Gadi
Fibich, Arieh Gavious & Oded Lowengart, The Dynamics of Price Elasticity of Demand in the
Presence of Reference Price Effects, 33 J. Academy Mktg. Science 66-78 (2005), available at
http://www.math.tau.ac.il/~fibich/Manuscripts/elasticity_JAMS.pdf.

                                                 -32-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 36 of 55 PageID #:36




                          Figure 1: U.S. Turkey Total Heads Slaughtered




F.       Abnormal pricing during the Class Period demonstrates the anticompetitive effects
         of the exchange of turkey information conducted through the Agri Stats sales
         reports.

         109.     Beginning in 2010, the turkey industry showed abnormal price movements, i.e.,

price increases for the average turkey whole price unexplained by increases in costs. All of these

pricing measurements show a significant break between pricing prior to 2010 and pricing after

2010, supporting the plausibility of anticompetitive effects on the turkey market from the

information exchange conducted through Agri Stats. Plaintiffs have measured the various

abnormal pricing movements in a number of ways, including: (i) the average turkey price, (ii) the

turkey integrators’ margin during the Class Period;(iii) the variation between feed and turkey

prices before and during the Class Period; and (iv) a regression analysis that models the

relationship between turkey prices and feed prices.

         1.       The average turkey wholesale price experienced an unprecedented increase
                  beginning in 2009.

         110.     According to aggregate prices published by the USDA, the average wholesale

price per pound for turkey hens was between $0.55 and $0.85 every year from 2000 to 2009,


                                                -33-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 37 of 55 PageID #:37




before steadily increasing to $1.15 by 2016. Following initiation of the Broilers litigation, the

price of turkey then quickly returned to the price at which it was prior to the conspiracy. The

following graph shows the unprecedented increase in turkey prices beginning in 2009, and

staying elevated through the end of 2016.

              Figure 2: Average Turkey Wholesale Prices in Cents per lbs., 2000-2018




         2.       Beginning in 2009, defendants’ revenues radically diverged from their costs.

         111.     Plaintiffs’ experts examined the spread between turkey revenue and turkey-related

costs (costs of goods sold + operating costs) for Jennie-O Turkey, the only one of the three

largest turkey integrator defendants with public earnings, as a proxy for measuring the spread

between a defendant’s price of wholesale turkey and their turkey costs.12 This measurement

accounts for defendant-specific operating costs. This analysis confirms the beginning of


    12
       Hormel does not make any data publicly available on Jennie-O’s costs. Therefore,
plaintiffs have assumed for the purposes of this analysis that Jennie-O’s costs are the same
proportion to Hormel’s overall costs as Jennie-O’s revenues are to Hormel’s overall revenues.

                                                 -34-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 38 of 55 PageID #:38




abnormal pricing in 2009, where there was a divergence in revenue and costs beginning at the

start of the Class Period in 2009.

         112.     The following chart shows a break in revenues and costs around the start of the

Class Period in 2010 for Hormel’s Jennie-O turkey brand:

                Figure 3: Jennie-O’s Revenues vs Costs, March 2001 to March 2018




         113.     The anticompetitive effect of defendants’ information exchange is seen in the

dramatic increase in Jennie-O Turkey’s spread between revenue and costs after the start of the

conspiracy period.




                                                 -35-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 39 of 55 PageID #:39




                Figure 4: Jennie-O Turkey’s spread: Revenue minus Cost 2001-2018




         114.     These analyses of the spread between costs and prices confirm one essential fact –

that rising costs do not explain the increases in price seen during the Class Period.

         3.       During the conspiracy period, prices rose but production failed to rise to
                  match demand, indicating an anticompetitive restraint on supply in the
                  market for turkey facilitated by the information exchange through Agri
                  Stats.

         115.     In a competitive market, production generally matches demand. More demand

will lead to more supply. Conversely, a drop in production caused by falling demand should

correspond to falling prices. However, in the turkey market during the conspiracy period,

production, measured through USDA data, remained artificially restrained even as demand,

captured by higher per capita expenditures on turkey, rose significantly. These observed price

and output dynamics, shown in the below chart, are consistent with an anticompetitive effect on

turkey output facilitated by the information exchange through Agri Stats.




                                                 -36-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 40 of 55 PageID #:40




         4.       During the conspiracy period, prices of turkey radically diverged from the
                  costs of underlying feed.

         116.     Feed is the primary driver of turkey costs, accounting for approximately 60-70%

of the overall cost of raising turkeys for sale according to the New York Times.13 Prior to the

conspiracy period, there was a tight relationship between the price of feed and the price of

turkey, as would be expected in a competitive commodity market that was pricing its product

based on its primary input cost. However, during the conspiracy period, the relationship between

the price of feed and the price of turkey diverged dramatically, as would be expected as an

anticompetitive effect of the information exchange that allowed the integrator defendants to

charge more than was justified by their input costs. The divergence is illustrated in the below

chart:




    13
      Paul Sullivan, In the Labyrinth of Turkey Pricing, a Reason Under Every Giblet, supra
note Error! Bookmark not defined..

                                                 -37-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 41 of 55 PageID #:41




         5.       A regression model demonstrates the anticompetitive effects on the price of
                  turkey caused by the information exchange conducted through Agri Stats.

         117.     To demonstrate the anticompetitive effects of defendants’ information exchange

on the market for turkey, plaintiffs’ experts have done a regression model based on the

relationship between the price of turkey hens and the price of turkey feed, which is the primary

input cost for turkeys. The formula of the regression is the following:

(𝐻𝑒𝑛𝑃𝑟𝑖𝑐𝑒)=𝛼+𝛽(𝐹𝑒𝑒𝑑𝑃𝑟𝑖𝑐𝑒)𝑡+𝜀𝑡. As shown below, the regression shows a significant

elevation in the prices of turkey during the conspiracy period, showing the effects of the

information exchange through Agri Stats:




                                                -38-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 42 of 55 PageID #:42




G.       Defendants actively concealed the extent of their information exchange and
         plaintiffs did not and could not have discovered defendants’ anticompetitive
         conduct.

         118.     Plaintiffs and the members of the Class had neither actual nor constructive

knowledge of the facts constituting their claim for relief. Plaintiffs and members of the Class did

not discover, and could not have discovered through the exercise of reasonable diligence, the

existence of the conspiracy alleged herein until shortly before filing this complaint. Defendants

engaged in a secret information exchange that did not reveal facts that would put plaintiffs or the

Class on inquiry notice that there was an anticompetitive agreement to exchange information

regarding the market for turkey. Throughout the Class Period, defendants effectively,

affirmatively, and fraudulently concealed their anticompetitive agreement from plaintiffs and

class members.




                                                 -39-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 43 of 55 PageID #:43




         119.     In 2009, the President of Agri Stats, Bryan Snyder, commented on how secretive

the true nature of Agri Stats was when he stated:

                  Agri Stats has always been kind of a quiet company. There’s not a
                  whole lot of people that know a lot about us obviously due to
                  confidentiality that we try to protect. We don’t advertise. We don’t
                  talk about what we do. It’s always kind of just in the background,
                  and really our specialty is working directly with companies about their
                  opportunities and so forth.

         120.     At the same 2009 presentation, when discussing “bottom line numbers” (a

company’s net earnings), Mr. Snyder declined to display those numbers publicly, stating “I’m

not going to display the actual bottom line to the group here just because of the confidential[]

nature of the information.”

         121.     Not until recently was the extent of the information exchange conducted through

Agri Stats widely known or reported. Only after the filing of a February 7, 2018 Second

Consolidated and Amended Complaint by the End User Plaintiff Class in the In re Broiler

Chicken Antitrust Litigation, Case No. 1:16-cv-08637 (N.D. Ill.), was there a comprehensive

presentation of the full scope of the confidential services that Agri Stats provides to its clients in

the broiler industry.

         122.     The filing of that amended complaint collectively disclosed the likelihood that the

turkey industry was using Agri Stats to share confidential industry information that could

facilitate an anticompetitive conspiracy.

         123.     Defendants concealed the extent of their information exchange through Agri

Stats. Indeed, to this day, it is not publicly known the number of companies that receive Agri

Stats reports regarding turkey. Accordingly, a reasonable person under the circumstances would

not have been alerted to begin to investigate the legitimacy of defendants’ turkey prices before

these recent events.


                                                  -40-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 44 of 55 PageID #:44




H.       Defendants had numerous opportunities to collude.

         124.     Defendant integrators are members of several turkey-related trade associations

and other forums, which they used to facilitate their conspiratorial conduct. Turkey producers

have numerous regular events through which they can communicate in person with one another.

Regular and frequent attendance by defendants’ CEOs and top-level executives at trade-

association meetings is the norm rather than the exception.

         125.     Nearly every defendant integrator’s CEO has representatives on the board of

directors or executive committee of these trade associations.

         126.     The National Turkey Federation is a national advocate for turkey farmers and

processors; members include growers, processors, hatchers, breeders, distributors, allied

services, and state associations. High-ranking executives of Butterball, Jennie-O Turkey Store

(Hormel), Cargill, Tyson, Farbest, and Perdue currently serve as officers or on the executive

committee; and nearly all of the defendants have membership in this trade association. In

addition to regular board and executive committee meetings, the federation holds an annual

convention in February and an annual leadership conference in July where these executives

gather and discuss turkey-related information.

         127.     Upon information and belief, the top-level executives from defendants discuss

topics with one another relating to pricing, production, and other non-public proprietary

information outside of the National Turkey Federation’s formal meetings. These regular,

informal, and in-person opportunities to discuss pricing and production in the turkey industry

gives CEOs and top-level executives comfort that their competitors remain committed to a plan

to artificially restrict turkey production.

         128.     The United States Poultry & Egg Export Council (USAPEEC) has its home office

in Stone Mountain, Georgia. Defendants are all members of the council. USAPEEC has a

                                                 -41-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 45 of 55 PageID #:45




network of international offices and consultants in key export markets. The mission of

USAPEEC is to promote exports of U.S. poultry and eggs around the world. The council has

evolved into an advocate for the industry on trade-policy issues. USAPEEC has about 200

member companies and organizations. The council holds Board of Directors meetings quarterly

and includes executives from all or nearly all defendants.

         129.     The U.S. Poultry & Egg Association (U.S. Poultry) describes itself as the world’s

largest and most active poultry organization. U.S. Poultry’s members include producers and

processors of broilers, turkeys, ducks, eggs, and breeding stock, as well as allied companies.

Many of the defendants are members of U.S. Poultry. U.S. Poultry holds regular Board of

Directors meetings each quarter during January, March, June, and each fall. Butterball, Cargill,

Foster, Tyson, and Perdue have representation on the Board of Directors.

         130.     The North American Meat Institute (NAMI) represents companies that process

95% of red meat and 70% of turkey products in the United States and their suppliers throughout

the country. NAMI hosts the Meat Industry Summit in April each year. Additionally, it hold

regular Board of Director meetings. Butterball, Cargill, Hormel, and Tyson have representation

on the NAMI Board.

                                V.      CLASS ACTION ALLEGATIONS

         131.     Plaintiffs bring this action on behalf of themselves, and as a class action under the

Federal Rules of Civil Procedure, Rule 23(a), (b)(2) and (b)(3), seeking compensatory damages

and injunctive relief pursuant to federal law on behalf of the members of the following class:

                       All persons and entities who directly purchased turkey from
                       Defendants or co-conspirators for personal use in the United States
                       during the Class Period. Specifically excluded from this Class are
                       the Defendants and co-conspirators; the officers, directors or
                       employees of any Defendant or co-conspirator; any entity in which
                       any Defendant or co-conspirator has a controlling interest; and any
                       affiliate, legal representative, heir or assign of any Defendant or co-

                                                      -42-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 46 of 55 PageID #:46




                       conspirator. Also excluded from this Class are any federal, state or
                       local governmental entities, any judicial officer presiding over this
                       action and the members of his/her immediate family and judicial
                       staff, any juror assigned to this action, and any co-conspirator
                       identified in this action.

         132.     Class Identity: The above-defined class is readily identifiable and is one for which

records should exist.

         133.     Numerosity: Plaintiffs do not know the exact number of class members because

such information presently is in the exclusive control of defendants, retailers, resellers and other

entities in the supply chain of turkey. Plaintiffs believe that due to the nature of the trade and

commerce involved, there are thousands of class members geographically dispersed throughout

the United States, such that joinder of all class members is impracticable.

         134.     Typicality: Plaintiffs’ claims are typical of the claims of the members of the Class

because plaintiffs purchased turkey directly from one or more of the defendants for personal use,

and therefore plaintiffs’ claims arise from the same common course of conduct giving rise to the

claims of the Class and the relief sought is common to the Class.

         135.     Common Questions Predominate: There are questions of law and fact common to

the Class, including, but not limited to:

             A.        Whether defendants and their co-conspirators engaged in an information

                       exchange agreement that reduced or suppressed competition in the market for

                       turkey;

             B.        The identity of the participants of the alleged agreement;

             C.        The duration of the agreement alleged herein and the acts performed by

                       defendants and their co-conspirators in furtherance of the agreement;




                                                     -43-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 47 of 55 PageID #:47




             D.        Whether the conduct of defendants and their co-conspirators, as alleged in this

                       Complaint, caused injury to the business or property of the plaintiffs and the

                       other members of the Class;

             E.        The effect of defendants’ alleged conspiracy on the prices of turkey sold in the

                       United States during the Class Period; and

             F.        The appropriate class-wide measure of damages.

These and other questions of law or fact, which are common to the members of the Class,

predominate over any questions affecting only individual members of the Class.

         136.     Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class in

that plaintiffs’ interests are aligned with, and not antagonistic to, those of the other members of

the Class who directly purchased turkey from defendants and plaintiffs have retained counsel

competent and experienced in the prosecution of class actions and antitrust litigation to represent

themselves and the Class.

         137.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since individual joinder of all damaged members of the

Class is impractical. Prosecution as a class action will eliminate the possibility of duplicative

litigation. The relatively small damages suffered by individual members of the Class compared

to the expense and burden of individual prosecution of the claims asserted in this litigation

means that, absent a class action, it would not be feasible for members of the Class to seek

redress for the violations of law herein alleged. Further, individual litigation presents the

potential for inconsistent or contradictory judgments and would greatly magnify the delay and

expense to all parties and to the court system. Therefore, a class action presents far fewer case




                                                     -44-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 48 of 55 PageID #:48




management difficulties and will provide the benefits of unitary adjudication, economy of scale

and comprehensive supervision by a single court.

         138.      The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for defendants.

         139.      Plaintiffs bring the action on behalf of all persons similarly situated pursuant to

Rule 23, on behalf of all persons and entities that directly purchased one or more turkey products

that a defendant or co-conspirator produced during the respective class periods.

         140.      Defendants have acted on grounds generally applicable to the Class, thereby

making final injunctive relief appropriate with respect to the Class as a whole.

                                        VI.      ANTITRUST INJURY

         141.      Defendants’ anticompetitive conduct had the following effects, among others:

              A.       Price competition has been restrained or eliminated with respect to turkey;

              B.       The prices of turkey have been fixed, raised, stabilized, or maintained at

                       artificially inflated levels;

              C.       Direct purchasers of turkey have been deprived of free and open competition;

                       and

              D.       Direct purchasers of turkey, including plaintiffs, paid artificially inflated prices.

         142.      Commonly used and well-accepted economic models can be used to measure both

the extent and the amount of the supra-competitive charge paid by the direct purchasers. Thus,

the economic harm to plaintiffs and the class members can be quantified.

         143.      The purpose of the conspiratorial conduct of defendants and their co-conspirators

was to raise, fix, or maintain the price of turkey and, as a direct and foreseeable result, plaintiffs

and the Class paid supra-competitive prices for turkey during the Class Period.

                                                       -45-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 49 of 55 PageID #:49




         144.     By reason of the alleged violations of the antitrust laws, plaintiffs and the Class

have sustained injury to their businesses or property, having paid higher prices for turkey than

they would have paid in the absence of defendants’ illegal contract, combination, or conspiracy

and as a result have suffered damages.

         145.     This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.

                                     VII.    CAUSE OF ACTION

                              VIOLATION OF THE SHERMAN ACT

                            FIRST CLAIM FOR RELIEF
                VIOLATION OF SECTION 1 OF THE SHERMAN ACT FOR
              CONSPIRACY TO EXCHANGE COMPETITIVE INFORMATION
                                   15 U.S.C. § 1
              (ON BEHALF OF NATIONWIDE CLASS FOR INJUNCTIVE AND
                       EQUITABLE RELIEF AND DAMAGES)

         146.     Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

         147.     Beginning at a time currently unknown to plaintiffs, but at least as early as

January 1, 2010, and continuing at least until January 1, 2017, the exact dates being unknown to

plaintiffs, defendants and their co-conspirators entered into a continuing agreement to regularly

exchange detailed, timely, competitively sensitive and non-public information about their

operations. This agreement is an unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

         148.     Defendants’ acts in furtherance of their combination or conspiracy were authorized,

ordered, or done by their officers, agents, employees, or representatives while actively engaged in

the management of defendants’ affairs.




                                                   -46-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 50 of 55 PageID #:50




         149.     Defendants’ anticompetitive acts involved United States domestic commerce and

import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by

raising and fixing prices for turkey throughout the United States.

         150.     The relevant product market is turkey and the relevant geographic market is the

continental United States.

         151.     Defendant integrators possess market power in the Relevant Market. Defendant

integrators and their co-conspirators controlled approximately 80 percent of the Relevant Market.

Defendant integrators’ collective market power includes the power to artificially deflate the

amount of turkey produced in the United States below competitive levels and to artificially

inflate the price plaintiffs pay for turkey above competitive levels.

         152.     Defendants could impose an increase in the price of turkey collectively without

causing many consumers to switch their purchases to another product. Turkey constitutes a

unique product market.

         153.     Defendants view the turkey products as fungible. Turkey products are generally

interchangeable, permitting defendant integrators to readily to compare and match each other’s

pricing.

         154.     The information regularly exchanged by defendants pursuant to the agreement has

consisted of detailed, competitively sensitive and non-public information about current supply,

production and pricing plans regarding turkey. The information exchanges specifically included

the exchange through Agri Stats of weekly and monthly reports regarding defendants’ turkey

operations, including weekly sales data that allowed defendants to compare their prices with their

competitors and raise prices that were lower.




                                                 -47-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 51 of 55 PageID #:51




         155.     Defendants’ regular information exchanges through Agri Stats reflected concerted

action between horizontal competitors in the market for turkey.

         156.     Each defendant integrator furnished competitively sensitive information to other

defendant integrators with the understanding that it would be reciprocated. Agri Stats enforced

this understanding by requiring defendants to share data in order to receive comparable data.

         157.     The agreement to regularly exchange detailed and non-public information about

current production, supply, and pricing suppressed competition between the defendants. Agri

Stats specifically identified for defendants the instances where their pricing was lower than other

defendants and where they could raise their prices to match.

         158.     When defendants that are competing for the same consumers exchange

competitive information, it reduces the incentives to compete on price. Accordingly, defendants

used the data obtained through Agri Stats to reduce the uncertainty that they each should have

faced from not knowing what their competitors were offering and providing in the turkey market.

This strategic information was a material factor in defendant integrators’ decisions to inflate the

prices that plaintiffs paid for turkey during the Class Period.

         159.     Defendants’ unlawful agreements to exchange, and the actual exchanges of

nonpublic, timely, and detailed data were not reasonably necessary to further any procompetitive

purpose. The information exchanged between defendants was current, easily traceable to its

source, confidential, and related to a core characteristic of competition between them.

         160.     The information-exchange agreement has had the effect of (1) reducing and

suppressing competition among defendants in the market for turkey in the United States and (2)

inflating the prices of turkey during the Class Period.

         161.     As a result of defendants’ unlawful conduct, plaintiffs and the members of



                                                 -48-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 52 of 55 PageID #:52




the Class have been harmed by being forced to pay inflated, supracompetitive prices for turkey.

          162.    As a direct and proximate result of defendants’ anticompetitive conduct, plaintiffs

and members of the Class have been injured in their business or property and will continue to be

injured in their business and property by paying more for turkey than they would have paid and

will pay in the absence of the conspiracy.

          163.    The alleged contract, combination, or conspiracy is also a per se violation of the

federal antitrust laws.

                                     VIII. REQUEST FOR RELIEF

          WHEREFORE, plaintiffs, on behalf of themselves and the Class of all others so similarly

situated, respectfully requests judgment against defendants as follows:

          164.    The Court determine that this action may be maintained as a class action under

Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint plaintiffs as Class

Representatives and their counsel of record as Class Counsel, and direct that notice of this action,

as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the Class, once

certified;

          165.    The unlawful conduct, conspiracy or combination alleged herein be adjudged and

decreed in violation of Section 1 of the Sherman Act;

          166.    Plaintiffs and the Class recover damages, to the maximum extent allowed under

the applicable laws, and that a joint and several judgments in favor of plaintiffs and the members

of the Class be entered against defendants in an amount to be trebled to the extent such laws

permit;

          167.    Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any

                                                   -49-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 53 of 55 PageID #:53




manner continuing, maintaining or renewing the conduct, conspiracy, or combination alleged

herein, or from entering into any other conspiracy or combination having a similar purpose or

effect, and from adopting or following any practice, plan, program, or device having a similar

purpose or effect;

         168.     Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any

manner continuing, maintaining, or renewing the sharing of highly sensitive competitive

information that permits individual identification of company’s information;

         169.     Plaintiffs and the members of the Class be awarded pre- and post- judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from and

after the date of service of this Complaint;

         170.     Plaintiffs and the members of the Class recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

         171.     Plaintiffs and the members of the Class have such other and further relief as the

case may require and the Court may deem just and proper.

                                 IX.     JURY TRIAL DEMANDED

         172.     Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, of all issues so triable.

Dated: December 19, 2019                         HAGENS BERMAN SOBOL SHAPIRO LLP

                                                 By:      s/ Steve W. Berman
                                                          STEVE W. BERMAN




                                                   -50-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 54 of 55 PageID #:54




                                       455 North Cityfront Plaza Drive, Suite 2410
                                       Chicago, Illinois 60611
                                       Telephone: (708) 628-4949
                                       Facsimile: (708) 628-4950
                                       steve@hbsslaw.com

                                       Shana E. Scarlett (pro hac vice forthcoming)
                                       Rio S. Pierce (pro hac vice forthcoming)
                                       HAGENS BERMAN SOBOL SHAPIRO LLP
                                       715 Hearst Avenue, Suite 202
                                       Berkeley, California 94710
                                       Telephone: (510) 725-3000
                                       Facsimile: (510) 725-3001
                                       shanas@hbsslaw.com
                                       riop@hbsslaw.com

                                       By:     s/ Brian D. Clark
                                             BRIAN D. CLARK (pro hac vice forthcoming)
                                       W. Joseph Bruckner (pro hac vice forthcoming)
                                       Maureen Kane Berg (pro hac vice forthcoming)
                                       Simeon Morbey (pro hac vice forthcoming)
                                       LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                       100 Washington Avenue South, Suite 2200
                                       Minneapolis, Minnesota 55401
                                       Telephone: (612) 339-6900
                                       Facsimile: (612) 339-0981
                                       wjbruckner@locklaw.com
                                       bdclark@locklaw.com
                                       mkberg@locklaw.com
                                       samorbey@locklaw.com

                                       Benjamin E. Shiftan (pro hac vice forthcoming)
                                       PEARSON, SIMON, & WARSHAW, LLP
                                       350 Sansome Street, Suite 680
                                       San Francisco, California 94104
                                       Telephone: (415) 433-9000
                                       Facsimile: (415) 433-9008
                                       bshiftan@pswlaw.com




                                        -51-
Class Action Complaint - Case No.:
010737-11/1219159 V2
     Case: 1:19-cv-08318 Document #: 1 Filed: 12/19/19 Page 55 of 55 PageID #:55




                                       Clifford H. Pearson (pro hac vice forthcoming)
                                       Bobby Pouya (pro hac vice forthcoming)
                                       Michael H. Pearson (pro hac vice forthcoming)
                                       PEARSON, SIMON, & WARSHAW, LLP
                                       15165 Ventura Boulevard, Suite 400
                                       Sherman Oaks, California 92403
                                       Telephone: (818) 788-8300
                                       Facsimile: (818) 788-8104
                                       cpearson@pswlaw.com
                                       bpouya@pswlaw.com
                                       mpearson@pswlaw.com

                                       Counsel for Plaintiffs and the Proposed Class




                                        -52-
Class Action Complaint - Case No.:
010737-11/1219159 V2
